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KILEY DELIEFDE SWAINE,
Plaintiff,
VS.

CITY OF TORRANCE, CODY
WELDIN, CHRISTOPHER TOMSIC
and DOES 1 through 10, inclusive,

Defendants.

 

 

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LAW OFFICE OF JERRY L. STEERING

Brenton W. Aitken Hands, Esq. (SBN 308601)

Attorneys for Plaintiff Kiley Deliefde Swaine

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.:

COMPLAINT FOR DAMAGES
FOR:

1) UNREASONABLE /
UNLAWFUL SEARCH and
SEIZURE of PERSONAL
PROPERTY [U.S. CONST.
AMEND. 4 via 42 U.S.C. §
1983];

2) UNREASONABLE /
UNLAWFUL SEIZURE of
PERSONAL PROPERTY
WITHOUT PROCEDURAL
DUE PROCESS of LAW [U.S.
CONST. AMEND 14 via 42
U.S.C. § 1983];

3) VIOLATION OF
SUBSTANTIVE DUE
PROCESS of LAW [U.S.
CONST. AMEND 14 via 42
U.S.C. § 1983];

4) UNLAWFUL TAKING OF
PROPERTY WITHOUT JUST
COMPENSATION [U.S.

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CONST. AMENDS. 5 & 14 via
42 U.S.C. § 1983]; and

5) MUNICIPAL LIABILITY
[MONELL LIABILITY’) for
POLICY / de facto POLICY, via
LONGSTANDING CUSTOMS
and PRACTICES OF POLICE
AGENCY POLICY, via 42
U.S.C. § 1983, FOR CREATION
and MAINTAINENCE of NEO-
NAZI / WHITE SUPREMACIST
POLICE OFFICER GANG
TERRORIZING PUBLIC

JURY TRIAL DEMANDED

 

 

COMES NOW plaintiff Kiley Deliefde Swaine and shows this honorable
court the following:

JURISDICTIONAL ALLEGATIONS

bs As this action is brought under 42 U.S.C. § 1983, this Honorable
Court has jurisdiction over this case under its federal question jurisdiction pursuant
to 28 U.S.C. § 1331.

2. As the incidents complained of in this action occurred in the City of
Torrance, County of Los Angeles, State of California, within the territorial
jurisdiction of this Honorable Court, venue properly lies in this Honorable Court
pursuant to 28 U.S.C. § 1391(b)(2).

3. As of the date of this initial filing of this action, plaintiff has filed his

California Government Claim for Damages against City of Torrance pursuant to

 

' Monell v, Department of Social Services, 436 U.S. 658 (1978).

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the California Tort Claims Act’; a condition precedent to plaintiff filing his
California state law claims against defendants City of Torrance (“CITY”), Cody
Weldin, Christopher Tomsic and any other California public employee, in this
instant lawsuit.

ot, Plaintiff will amend? his Complaint for Damages in this action
to include his California state law claims against the defendants to the same,
including any “DOE” defendants, or defendants otherwise presently unknown to
plaintiff, following the response’ of the City of Torrance to plaintiff's California
Government Claim for Damages, or, any such failure to respond within the
statutory forty-five (45) day period required of California Public Entities to
respond to such Government Claims for Damages filed with it.

5. Plaintiff Kiley Deliefde Swaine, hereinafter referred to as “plaintiff
Swaine” or “SWAINE” or simply “plaintiff”, is a natural person, who, at all times
complained of in this action, resided in the County of Los Angeles, State of
California.

6. Defendant City of Torrance, hereinafter also referred to as “CITY” or
“City of Torrance”, is a municipal entity located in the County of Los Angeles,
State of California; within the territorial jurisdiction of this court.

7. Defendant Christopher Tomsic, hereinafter also referred to as
“TOMSIC”, at all times complained of herein, was a certified peace officer and a
sworn police officer, employed by the Torrance Police Department in that capacity,

who was acting as an individual person under the color of state law, in his

 

 

* Formerly known when enacted as the “California Tort Claims Act”; Cal. Gov’t Code § 910 et
seq., it was renamed the “California Government Claims Act”, when California Courts declared
that the Claim Filing requirements of the Government Code, apply to contract claims (actions ex
contractu), in addition to action arising out of “tort”; actions ex actions ex de/icto).

3 Either as a matter of right, or, otherwise with court permission.

* Or the lack thereof any such response within that 45 day period in which the City has to
respond to a Government Claim for Damages.

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individual capacity as a sworn Torrance Police Department police officer, and was
acting in the course of and within the scope of his employment with defendant
CITY

8. Defendant Cody Weldin, hereinafter also referred to as “WELDIN”,
is, and at all times complained of herein, was, a certified peace officer and a sworn
police peace officer, employed by the Torrance Police Department, acting as an
individual person under the color of state law, in his individual capacity as a police
officer, and was acting in the course of and within the scope of his employment
with defendant CITY.

9. Defendants DOES | through 6, inclusive, are certified California
peace officers and / sworn police officers and/or Investigators and/or Detective
and/or Public Service Officers and/or Special Officers and/or Dispatchers and/or
some other public officer, public official or officer / agent / employee of defendant
CITY and/or otherwise employed by the Torrance Police Department (and/or with
some other public entity), who in some way committed some or all of the tortious
actions (and constitutional violations) complained of in this action, and/or are
otherwise the proximate and/or legal cause of the plaintiff's injuries and damages,
and are responsible for and liable to plaintiff for the acts complained of in this
action, such as by failing to intervene and stop the vandalization of the plaintiffs
car as discussed below, and whose identities are, and remain unknown to plaintiff,
who will amend his complaint to add and to show the actual names of said DOE
defendants when so ascertained by plaintiff.

10. Atall times complained of herein, DOES 1 through 6, inclusive, were
acting as individual persons acting under the color of state law, pursuant to their
authority as certified California peace officers and / sworn police officers and/or
Investigators and/or Detective and/or Public Service Officers and/or Special

Officers and/or Dispatchers and/or some other public officer, public official or

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officer / agent / employee of defendant CITY, and/or otherwise employed by the
Torrance Police Department (and/or with some other public entity), and were
acting in the course of and within the scope of their employment with defendant
CITY (and/or with some other public entity).

11. Defendants DOES 7 through 10, inclusive, are Supervisory personnel
and/or policy making and/or final policy making officials for the Torrance Police
Department / City of Torrance, employed by Torrance Police Department and
defendant CITY (and/or some other Municipal entity), and were Certified
California Peace Officers, Sworn Peace Officers of policy making ranks and
authority, such as the Chief of Police and/or Assistant Chief(s) and/or
Commanders and/or Captains and/or Lieutenants and/or Sergeants and/or other
Supervisory personnel and/or policy making and/or final policy making officials,
employed by Torrance Police Department and defendant CITY (and/or some other
Municipal entity), who are in some substantial way liable and responsible for, or
otherwise proximately caused and/or contributed to the occurrences complained of
by plaintiff in this action, such as via major policy making decisions on personnel
matters, including:

1) The longstanding knowing tolerance of and condoning by CITY and

DOES 7 through 10, inclusive*, of murders and other forms of homicide by

Torrance Police Department police officers of innocents® (some being

racially motivated, and some not), as well as the knowing widespread

tolerance of and condoning of frequent police beatings and false arrests of

 

° Such as by failing to investigate, or even by failing to take a complaint report, or to even
discourage civilians from making any such personnel complaints; especially those complaints by
non-white civilians that they were subjected to demeaning traffic stops by Torrance Police
Department police officers, for conduct such as driving an expensive car in a predominantly
white / upscale neighborhood.

° Including criminal federal constitutional violations under 18 U.S.C. § 242.

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innocents by Torrance Police Department police officers, and of other
California state criminal, and federal and state constitutional violations’,
including defendants Christopher Tomsic and Scott Weldin and DOES 1
through 6, inclusive;

2) The longstanding custom and practice of CITY and DOES 7 through
10, inclusive®, by ignoring frequent civilian complaints made by civilians
against violating Torrance police officers, including the murders, beatings
and false arrests referenced immediately above, including and especially
racially motivated traffic and pedestrian stops of innocent non-white
persons, and by either failing to investigate them at all, or, by investigating
said complaints in a manner seeking only to reach a pre-determined
conclusion, that the civilian complaints were without merit, and that the
Torrance Police Department police officer was “in the right”, and the
complaining civilian was “in the wrong”;

3) The longstanding custom and practice of CITY and DOES 7 through
10, inclusive'®, of knowingly tolerating Neo-Nazi / White Supremacist
groups of Torrance Police Department police officers, who individually and
in concert, and as a group / gang actually discuss with each other, on-duty,

how much they despise and hate Jews, black persons of African descent,

 

7 Some of these Torrance Police Department beatings of innocents, misdemeanants, the homelesg,
and the defenseless, not being racially motivated, and some being racially motivated, and, also,
to advance the goals of, and for the benefit of the / a White Supremacist / Neo-Nazi group(s) /
gang(s) of Torrance Police Department police officers.
* Such as by failing to investigate, or even by failing to take a complaint report, or to even
discourage civilians from making any such personnel complaints.
* From 2016 to 2019, Torrance police upheld just three citizen allegations of police misconduct
and zero allegations of racial profiling made against officers, according to data submitted to the
California attorney general’s office. Katz, the former independent police auditor, described those
statistics as “concerningly low.”
'° Such as by failing to investigate, or even by failing to take a complaint, report, or to even
discourage civilians from making any such personnel complaints.

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persons of Mexican descent, members of the LGBT community

and assorted other identifiable groups of persons who are often typically

looked-down-upon by members of the law enforcement community, to

patrol the streets of Torrance;

12. Defendants DOES 7 through 10, inclusive, are also liable to plaintiff
in this action via: a) Supervisory Liability (i.e. failure to properly supervise,
improperly directing subordinate officers, approving unlawful / unconstitutional
actions of subordinate officers), b) via Bystander Liability (failing to intervene in
and stop unlawful actions of their subordinates and/or other officers), and c) via
such as by creating and/or causing the creation of and/or contributing to the
creation of the policies and/or practices and/or customs and/or usages of the
Torrance Police Department for excessive force, false arrests, malicious criminal
prosecutions and otherwise brutalizing and terrorizing the public, that has led to the
15 |{ereation, maintenance and tolerance White Supremacist / Neo-Nazi Police Officer
16 || Gang(s) within the Torrance Police Department; the likes of which has reigned
17 ||terror over the residents of and visitors to the City of Torrance.

18 13. At all times complained of herein, DOES 7 through 10, inclusive,

19 || were acting as individual persons acting under the color of state law, pursuant to
20 ||their authority as the Chief of Police and/or the Assistant Chief(s) and/or Captains
21 ||and/or Lieutenants and/or Sergeants and/or other Supervisory personnel and/or

22 |!policy making and/or final policy making officials with the Torrance Police

23 ||Department, and/or some other public official(s) with defendant CITY, and were
24 || acting in the course of and within the scope of their employment with defendant

2 NCITY..

= 14. At all times complained of herein, defendants DOES 7 through 10,

” inclusive, were acting as individual persons under the color of state law; under and
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pursuant to their status and authority as peace officers and/or Supervisory peace

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officers (as described herein, above and below), and/or policy making peace
officers, with the Torrance Police Department and/or otherwise with defendant
CITY.

15. Plaintiff is presently unaware of the identities of DOES | through
10, inclusive, and will amend his complaint to add and to show the actual names of|
said DOE defendants, when made known to plaintiff.

16. In addition to the above and foregoing, defendants TOMSIC,
WELDIN and DOES | through 6, inclusive, acted pursuant to a conspiracy,
agreement and understanding, and a common plan and scheme, to deprive the
plaintiff of his federal Constitutional rights as complained of in this action.

17. Defendants TOMSIC, WELDIN and DOES | through 6, inclusive,
acted in joint and concerted action to so deprive the plaintiff of those rights as
complained of herein; all in violation of 42 U.S.C. § 1983, and otherwise in
violation of United States Constitutional and statutory law, and in violation of
California Constitutional and statutory state law.

18. Said conspiracy / agreement / understanding / plan / scheme / joint
action / concerted action, above-referenced, was a proximate cause of the violation
of the plaintiffs federal and state constitutional and statutory rights, as complained
of herein.

GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

19. On January 27, 2020, at approximately 4:06 a.m., Torrance Police
Department (““TPD”) police officers received a call for service from a civilian, who
allegedly reported that several persons were possibly involved in the theft of mail
from an apartment building in Torrance, California.

20. Pursuant to that call for service, at approximately 4:24 a.m. on

January 27, 2020, several Torrance Police Department police officers and

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defendants Cody Weldin, Christopher Tomsic and DOES 1 through 3, inclusive,
went to the scene of the call for service.

21. Two of the Torrance Police Department police officers who
responded to the call for service, defendants Christopher Tomsic and Cody Weldin]
located plaintiff Kiley Swaine and his friend, and detained them for investigation.

22. Torrance Police Department police officers Cody Weldin
(“WELDIN”), Christopher Tomsic (“TOMSIC”) and DOES 1 through 3, inclusive,
had located plaintiff's 2004 Hyundai Electra automobile at the scene of the call;
the registered owner of who was plaintiff Kiley Swaine.

23. Thereafter on that day, January 27, 2020, plaintiff and his friend, were
arrested by Torrance Police Department police officers WELDIN, TOMSIC”) and
DOES 1 through 3, inclusive, for suspected conspiracy to commit mail theft from al
Torrance, California, apartment building. Plaintiff is innocent of, and was never
prosecuted for those crimes.

24. Pursuant to plaintiffs arrest by WELDIN, TOMSIC and DOES 1
through 3, inclusive, defendants WELDIN, TOMSIC and DOES 1 through 6,
inclusive, had plaintiff's car towed to a local tow yard; Van Lingen Towing, in
Torrance, California.

25. After plaintiff had been arrested and taken to the Torrance City Jail,
defendants WELDIN, TOMSIC and DOES 1 through 3, inclusive, vandalized
plaintiff's car. Moreover, defendants DOES 4 through 6, inclusive, stood by and
watched defendants WELDIN, TOMSIC and DOES | through 3, inclusive,
vandalize plaintiffs car, and failed and refused to intervene and stop the vandalism.

26. Defendants WELDIN, TOMSIC and DOES 1 through 3, inclusive,
spray-painted a Swastika on the back seat of plaintiff's car, a Happy Face on the
front passenger seat, and some paint on the passenger side outside rear view mirror

and on the rear bumper. Said defendants had also emptied a box of cereal and some

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protein powder all over the interior of his Hyundai. They also trashed the
plaintiffs car, and broke certain items therein!!.

27. The vandalization of plaintiff's car by defendants WELDIN, TOMSIC
and DOES | through 3, inclusive, was witnessed by DOES 4 through 7, inclusive,
and Van Linger Towing tow truck driver Christopher Dunn.

28. After defendants WELDIN, TOMSIC and DOES | through 3,
inclusive, were done vandalizing plaintiffs car, Christopher Dunn placed
plaintiffs car on a flat-bed tow truck, and towed plaintiffs car to Van Lingen
Towing.

29. Plaintiff was taken to the Torrance City Jail and booked on the
conspiracy charges!”.

30. The next day, January 28, 2020, the Torrance Police Department
attempted to telephone plaintiff's mother, Gay DeLiefde Swaine, but she was at
work. Mrs. Swaine later saw the phone message from Torrance PD, and at
approximately 3:30 p.m. that day, she called the Torrance Police Department back.
Mrs. Swaine was told that plaintiff had been arrested, and was presently in the
Torrance Police Department Jail.

31. Plaintiffs parents, Robert Preston Swaine and Gay DeLiefde Swaine,
went to pick-up plaintiff at the Torrance Police Department, as he was to be
released on a misdemeanor citation.

32. Mrs. Swaine asked Torrance Police Department officers at the station
what the procedures were for getting plaintiff's car out of impound. She was told ta
get a Vehicle Release Form from Torrance PD, which she so obtained.

33. After plaintiff was cited and released from custody, the Swaines all

 

'! See, attached Exhibit “A”; photos of plaintiff's vandalized 2004 Hyundai.
'2 Later on, the police determined that plaintiff was an innocent man, and the criminal charges
were dropped against plaintiff.

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left Torrance PD, and drove to the tow yard where plaintiff's car had been towed;
Van Lingen Towing, at 2755 Lomita Street, in Torrance, California.

34. When they arrived at Van Lingen Towing, it was 5:15 p.m., the
Swaines were told by the towing company employee / agent that they were closed,
and for the Swaines to come back the next day.

35. On January 29, 2020, plaintiff and his father, Robert Swaine, returned
to Van Lingen Towing to retrieve plaintiff's car.

36. When Van Lingen Towing delivered plaintiffs car to him at the tow
yard, he noticed that someone had vandalized his car.

37. Plaintiff saw that someone had spray-painted a Swastika on the back
seat of his car, a Happy Face on the front passenger seat, and some spray-paint on
the rear bumper and on the passenger side outside rear view mirror. In addition,
someone had emptied a box of cereal and some protein powder that was tossed all
over the interior of his Hyundai’, and the interior of the plaintiff's car was, for
lack of a better term, trashed.

38. The towing company’s principal(s) / manager(s) / employee(s) /
agent(s) (hereinafter referred to as the towing company’s “AGENT(S)’) said that
plaintiff's car must have arrived that way, and plaintiff told him that his car was
not in that condition when it was towed.

39. The Van Lingen Towing AGENT(S) then told plaintiff that they have
video surveillance cameras that would have captured the image of plaintiff's car’s
condition when it came into the lot.

40. Plaintiff and his father then decided it would be best for them to call
the Torrance Police Department to report the vandalism, which they proceeded to

do.

 

'3See attached Exhibit “A”; photos of plaintiff's vandalized 2004 Hyundai.

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41. Thereafter, on January 29, 2020, shortly after plaintiff reported the
vandalism to the Torrance Police Department, two Torrance Police Department
officers went to Van Lingen Towing, met the plaintiff and his father there, and
inspected plaintiff's vandalized car; Sgt. Daniel Vazquez and Officer Scott
Nakayama (and DOES 6 and 7).

42. The Torrance police officers began to write their report and
confiscated the spray-paint can that had been left inside the car, that was
apparently used to vandalize the same.

43. The Torrance police officers spoke with plaintiff and his father, and
the towing company’s AGENT(S), who told the officers that they had video
surveillance of their lot, and that a review of it might determine if the car arrived in
that condition.

44, They all went inside of the towing company’s facility. Plaintiff and
his father were told to wait in the waiting area, while the police officers and the
towing company’s AGENT(S) went into the tow yard office; an office with a large
glass window.

45. Through the window, plaintiff and his father observed the officers and
the towing company’s AGENT(S) watching the video, but from their angle, they
could not see what the police officers were viewing.

46. After a short time of viewing the video, the above-referenced police
officers and the towing company AGENT(S) exited the tow yard office, and
approached plaintiff and his father at the same.

47. Van Lingen Towing knew from their tow truck driver, Christopher

Dunn, that defendants Cody Weldin and Christopher Tomsic!* were the vandals.

 

4 and DOES 1 through 6, inclusive.

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48. Accordingly, under the circumstances of that meeting of plaintiff, his
father, the police and the towing company AGENT(S), investigating Torrance
police officers Sgt. Vazquez and Officer Nakayama, became aware of facts that
would have caused them to strongly suspect that defendants TOMSIC and
WELDIN and DOES | through 3, inclusive, or at least some member of the one or
more White Supremacist / Neo-Nazi group(s) / gang(s) of Torrance Police
Department police officers had done the vandalizing; the Swastika painted on the
back seat being the main clue of the involvement of those type of Torrance police
officers.

49. On January 29, 2020, said Torrance police officers told the plaintiff,
and/or at least watched the towing company’s AGENT(S) tell plaintiff, that the
towing company accepted responsibility for the damage to his car, that they
suspended one of their employees who they suspected to have vandalized it, that
they were further investigating the matter, and that Van Lingen Towing would pay
for the damages to plaintiff's car.

50. Based upon that series of events at the tow yard on January 29, 2020,
wherein Van Lingen Towing immediately accepted responsibility for the damage
to the plaintiff's car, based upon the Torrance Police Department police officer’s
presence at the towing yard office, the nature of those discussions there with the
officers and towing company AGENT(S), above-referenced, a subsequent series of
events, described below, plaintiff was induced by the police officers and the
towing company AGENT(S) into believing that a Van Lingen Towing employee /

agent had been the person(s) who vandalized his car, and not any police officer’,

 

'S As shown above, Sgt. Daniel Vazquez and Officer Scott Nakayama were present at the tow
yard and had met with plaintiff and his father at the tow yard office. They knew that they were
there because the plaintiff had complained to the Torrance Police Department about his car being
vandalized, and they knew that they, along with the personnel at the towing company, had

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51. Van Lingen Towing’s AGENT(S) also told plaintiff to get estimates
for the repair of the car, and plaintiff and his father then left the tow yard.

52. Plaintiff then drove his vandalized car home. While he did so, the
protein powder blew all over him and his car’s interior. Plaintiff was extremely
upset and felt violated. Moreover, being unable to use the passenger side mirror
made it a safety hazard.

53. Thereafter, plaintiff obtained estimates to repair the exterior of his
vandalized car, and another one to repair the interior of the vehicle.

54. On February 20, 2020, plaintiff emailed Van Lingen Towing the
estimates for his car repair; said estimates ranging from approximately $2,000.00
to approximately $2,500.00.

55. Thereafter, plaintiff received a call from a Van Lingen Towing
AGENT(S), who offered $2,250.00 to plaintiff to settle the matter between Van
Lingen Towing and plaintiff, regarding paying for the damage to plaintiff's car.

56. Plaintiff believed that it was in his interest to take the $2,250.00, and
on February 27, 2020, plaintiff went to Van Lingen Towing and picked-up check
for $2,250.00'°.

57. Again, based upon the statements of Torrance Police Department Set.
Daniel Vazquez and Officer Scott Nakayama during their meeting with plaintiff,
his father and the towing company AGENT(S) of January 29, 2020 at Van Lingen
Towing, plaintiff was induced to reasonably believe that the Torrance Police

Department had concluded, along with Van Lingen Towing, that a Van Lingen

 

induced plaintiff to believe that a Van Lingen Towing employee had been the vandal; not a
police officer.
'© See, attached Exhibit “B”; a true and correct copy of said $2,250.00 check paid by Van Lingen
Towing to plaintiff.
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| 1! Towing Company employee / agent had been the vandal of plaintiff's car; not a
police officer.

: 58. Accordingly, when plaintiff accepted the $2,250.00 check from Van
Lingen Towing on February 27, 2020, he had done so under that induced belief
that Van Lingen Towing had vandalized his car, and not any Torrance Police
Department police officer.

59. Plaintiff shows that this “induced belief’, that a Van Lingen Towing
employee (and not a police officer) vandalized plaintiff's car, was perpetuated by
the Torrance Police Department, well after the Winter of 2020.

60. Torrance Police Department police officers were well aware that
defendant Torrance Police Department police officers Christopher Tomsic and
Cody Weldin (and DOES | through 3, inclusive), had been the persons who had
vandalized plaintiff's car, since at least March of 2020; less than two months
is || following the January 27, 2020 vandalism incident.

16 61. Moreover, during the Torrance Police Department’s investigation of
17 ||the vandalization of the plaintiff's car, they knew since at least the Spring of 2020,
18 ||that Torrance Police Department police officers Christopher Tomsic and Cody

19 || Weldin were part of a White Supremacist / Neo-Nazi gang / group of police

20 ||officers within the Torrance Police Department.

2] 62. Although the Torrance Police Department fired defendant police

22 |! officers Christopher Tomsic and Cody Weldin'’, and apparently suspended thirteen

 

?3 11(13) other Torrance Police Department police officers for being suspected

*4 \|members of some sort of White Supremacist / Neo-Nazi group(s) and/or gang(s) of|
a police officers within the Torrance Police Department, the Torrance Police

*6 Department, from top management to the line officers (i.e. DOES 5 through 10,

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17 and DOES 1 through 6, inclusive.

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inclusive), made a deliberate conscious decision to not notify plaintiff that

Christopher Tomsic and Cody Weldin'® were the ones who vandalized his car.
63. DOES 5 through 10, inclusive, along with Sgt. Daniel Vazquez and

Officer Scott Nakayama, knew that plaintiff was induced in substantial part by

their conduct!?

to believe that a Van Lingen Towing employee / agent, and not a
police officer, had vandalized his car on January 27, 2020.

64. DOES 5 through 10, inclusive, along with Sgt. Daniel Vazquez and
Officer Scott Nakayama, knew that plaintiff had asked their employing agency to
find out who vandalized his car when they complained to the Torrance Police
Department and its officers re the same. Said defendants also know that plaintiff
would have wanted to know that Torrance Police Department police officers
WELDIN and TOMSIC (and DOES 1 through 3, inclusive) were the actual
vandals. Yet, they decided to leave plaintiff with the false impression that a towing
company employee vandalized his car, to protect the CITY and defendants
WELDIN and TOMSIC (and DOES 1 through 3, inclusive) from civil and criminal
liability, from internal discipline, and from obloquy.

65. Van Lingen Towing knew from their tow truck driver, Christopher
Dunn, that defendants Cody Weldin and Christopher Tomsic”’ were the vandals.

66. Accordingly, in order to appease the Torrance Police Department by
protecting that agency from civil liability and obloquy, in large part to retain Van
Lingen’s status as being part of the Torrance Police Department’s rotational tow

list for police tows, Van Lingen Towing agreed with Sgt. Vazquez and/or Officer

Nakayama and/or DOES 5 through 10, inclusive, to accept the blame for the

 

18. and DOES 1 through 6, inclusive.
'9 .. and DOES 6 through 10, inclusive.
20, and DOES 1 through 6, inclusive.

COMPLAINT FOR DAMAGES
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vandalism to the plaintiff's car; to induce plaintiff to not suspect that any Torrance
Police Department police officers had committed that act of vandalism to his car.

67. All ofthis was done a part of an ongoing conspiracy / agreement / tactic
and/or express understanding, between the Torrance Police Department and Van
Lingen Towing, to make and keep plaintiff ignorant of the fact that Cody Weldin
and Christopher Tomsic*! were the real vandals; not some towing company
employee / agent. Van Lingen Towing’s ownership is/are not stupid, and they were
better-off, politically, and businesswise, to “take the hit” for the vandalism for a
couple of young Torrance Police Department police officers.

68. The Van Lingen Towing tow truck driver who actually transported the
plaintiff's then vandalized car to the Van Lingen Towing tow yard in Torrance,
California, Christopher Dunn, was supposedly working on his last night, on his last
tow with / on behalf of Van Lingen Towing”.

69. Christopher Dunn begrudgingly admitted to investigating Torrance
Police Department police officials, that he personally witnessed defendant
WELDIN and TOMSIC vandalize plaintiff's car at the scene of the plaintiff's
arrest on January 27, 20207’.

70. This conspiracy resulted in plaintiff not filing a California Government
Claim for Damages” against the City of Torrance until now; a predicate to filing a
lawsuit against the City of Torrance and the involved Torrance police officers for

vandalizing his car under California state law.

 

“1 and DOES 1 through 6, inclusive.

22 Ergo, no worry re being fired. Moreover, the last night of Christopher Dunn seems to be the
“suspension” of the possibly involved Van Lingen Towing employee, that Van Lingen Towing
told the plaintiff was suspended for his incident.

*3 Christopher Dunn did not want to implicate (“rat-out”) either defendants Christopher Tomsic
or Scott Weldin. He only did so when pressured by the investigating police officers, and the
circumstances of that interrogation.

*4 Formerly known as the California Tort Claims Act.

COMPLAINT FOR DAMAGES
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71. Thereafter, on October 2, 2021 plaintiff received two letters from the
Los Angeles County of Probation Office; said letters informing plaintiff, inter alia,
that criminal felony charges had been filed against (now former) Torrance Police
Department police officers Cody Weldin and Christopher Tomsic for vandalizing
his car on January 27, 2020°°.

72. That false belief by plaintiff, that a Van Lingen Towing employee
vandalized his car, and not any police officer, was abruptly changed on October 2,
2021, when plaintiff received a restitution amount request from the Los Angeles
County Probation Office; said request first alerting plaintiff of the existence of the
still pending criminal action against Scott Weldin and Christopher Tomsic; The
People of the State of California v. Christopher Tomsic and Scott Weldin;, Los
Angeles County Superior Court Case Number BA497887; a felony vandalism and
felony conspiracy to vandalize case, for the vandalizing of plaintiff's car on
January 27, 2020.

73. Accordingly, both plaintiff's federal and California state law claims
“accrued” on October 2, 2021*°.

FIRST CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
Violation of Fourth Amendment Rights
Unlawful / Unreasonable Search And Seizure Of Personal Property
(Against defendants TOMSIC, WELDIN and DOES 1 through 6, inclusive)

74. Plaintiff hereby realleges and incorporates by reference the allegations

set forth in paragraphs | through 73, inclusive, as though set forth in full herein.

 

25 See, attached Exhibit C - Restitution Information Request Letter from LA County Probation
Department re Cody Weldin, and attached Exhibit D - Restitution Information Request Letter
from Los Angeles County Probation Department re Christopher Tomsic.

*6 And, therefore, the statute of limitations for plaintiff to file his California Government Claim
for Damages, as well that for him to file this instant lawsuit, and the amendment thereof, run
anew from October 2, 2021.

COMPLAINT FOR DAMAGES
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75. As set forth above, on January 27, 2020, pursuant to a call for service for
suspected possible stolen mail, plaintiff and his friend were located in his
automobile near the scene of the subject of the call-for-service, by defendants
Cody Weldin and Christopher Tomsic?’.

76. Plaintiff and his friend were arrested, or otherwise caused to be arrested,
by Torrance Police Department police officers, including defendants Cody Weldin
and Christopher Tomsic and DOES | through 6, inclusive, for suspected
conspiracy to steal U.S. Mail.

77. Also as set forth above, plaintiff was taken to jail by Torrance Police
Department police officers, and booked for those charges shown above, on January
27, 2020.

78. Plaintiff was thereafter released from on January 28, 2020 from the
Torrance City Jail, on a citation to appear in court on his arrest charges.

79. Also as set forth above, on January 29, 2020, plaintiff?*® discovered
that his 2004 Hyundai, Elantra, automobile, had been vandalized by someone
spray-painting a Swastika on the back seat of his car, spray-painting a Happy Face
on the front passenger seat of his car, and by seemingly randomly spray-painting
blotches on the passenger side outside rear view mirror, and on the rear bumper of
plaintiff's Hyundai.

80. On October 2, 2021, plaintiff discovered that TOMSIC, WELDIN and
DOES | through 6, inclusive vandalized his car.

81. Also as set forth above, while defendants TOMSIC, WELDIN and
DOES | through 3, inclusive, vandalized plaintiff's car, DOES 4 through 6,

inclusive, watched them do so.

 

27 and DOES 1 through 6, inclusive.
*8 Along with plaintiff's father, Robert Swaine.

COMPLAINT FOR DAMAGES
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82. Moreover, DOES 4 through 6, inclusive, had an adequate opportunity,
as well as the ability, to have intervened and to have stopped defendants TOMSIC,
WELDIN and DOES | through 3, inclusive, from continuing to vandalize
plaintiff's car, and, notwithstanding that knowledge and opportunity, just stood
there / failed to intervene, and watched DOES 4 through 6, inclusive, vandalize
plaintiff's car.

83. Also as set forth above, defendants TOMSIC’s, WELDIN’s and DOES
| through 3’s vandalizing of plaintiff's car, and DOES 4 through 6, inclusive’s

29 was a meaningful interference with

failure to intervene to stop the same
plaintiff's possessory and property rights in his car, while seizing the same
pursuant to a police tow of plaintiff's car pursuant to his arrest.

84. There was no legitimate law enforcement objective or purpose in
defendants TOMSIC’s, WELDIN’s and DOES 1 through 3’s vandalizing of
plaintiff's car, and said defendants so vandalized his car to advance the goals and
objectives of that / those group(s) / gang(s) of White Supremacist / Neo-Nazi
police officers within the Torrance Police Department, to wit; to terrorize the
public in Torrance, California, that group(s) / gang(s) of White Supremacist / Neo-
Nazi police officers within the Torrance Police Department run that town and its
streets; a form of Neo-Nazi group chest-puffing and bragging, by officers who are
drunk with their own power, and who despise and mistreat those types / groups of
persons who are often mistreated by society (i.e. Jews, blacks, members of the
LBGT community, and other non-white types.)

85. Accordingly, said vandalizing of plaintiff's car by defendants

TOMSIC, WELDIN and DOES 1 through 3, inclusive, constitutes and

 

*° A duty imposed upon them under federal constitutional standards for police “bystander”
liability.
COMPLAINT FOR DAMAGES
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unreasonable seizure of plaintiff's car under the Fourth Amendment to the United
States Constitution.

86. As a direct and proximate result of the actions of defendants
TOMSIC, WELDIN and DOES | through 3, inclusive, plaintiff has suffered: 1)
damage to his car and the attendant costs of repairing the same, including lost
wages, and 2) mental and emotional pain suffering and distress from the shock that
a Torrance police officer seemed to have threatened him with painting a Swastika
on his back seat, and otherwise from such “violation” of one’s basic liberty
interests, and from the shock to one when one is traumatically caused to realize
that often, the persons entrusted with one’s personal safety and security (the police)

are more dangerous to one, than the persons who they are supposed to be protected

from by the police; all in an amount to be proven at trial in excess of $3,000,000.00.

87. In addition to the above and foregoing, plaintiff shows that the actions
of defendants TOMSIC, WELDIN and DOES | through 6, inclusive*®, were done
maliciously, oppressively and in reckless disregard of the plaintiff's constitutional
rights; entitling plaintiff to punitive / exemplary damages in an amount to be
proven at trial in excessive of $3,000,000.00.

SECOND CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
Violation of Fourteenth Amendment Rights
Unlawful / Unreasonable Search and Seizure of Personal Property
without Procedural Due Process of Law
(Against defendants TOMSIC, WELDIN and DOES 1 through 6, inclusive)

88. Plaintiff hereby realleges and incorporates by reference the allegations
set forth in paragraphs | through 87, inclusive, as though set forth in full herein.
89. Asset forth above, on January 27, 2020, pursuant to a call for service for

suspected possible stolen mail, plaintiff and his friend were located in his

 

30... and the omissions of DOES 4 through 6, inclusive.

COMPLAINT FOR DAMAGES
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automobile near the scene of the subject of the call-for-service, by defendants
Cody Weldin and Christopher Tomsic*!.

90. Plaintiff and his friend were arrested, or otherwise caused to be arrested,
by Torrance Police Department police officers, including defendants Cody Weldin
and Christopher Tomsic and DOES | through 6, inclusive, for suspected
conspiracy to steal U.S. Mail.

91. Also as set forth above, plaintiff was taken to jail by Torrance Police
Department police officers, and booked for those charges shown above, on January
27, 2020.

92. Plaintiff was thereafter released from on January 28, 2020 from the
Torrance City Jail, on a citation to appear in court on his arrest charges.

93. Also as set forth above, on January 29, 2020, plaintiff’? discovered that
his 2004 Hyundai, Elantra, automobile, had been vandalized by someone spray-
painting a Swastika on the back seat of his car, spray-painting a Happy Face on the
front passenger seat of his car, and by seemingly randomly spray-painting blotches
on the passenger side outside rear view mirror, and on the rear bumper of
plaintiff's Hyundai.

94. Also as set forth above, on October 2, 2021, plaintiff discovered that
TOMSIC, WELDIN and DOES | through 6, inclusive vandalized his car.

95. Also as set forth above, defendants TOMSIC’s, WELDIN’s and DOES 1
through 3’s vandalizing of plaintiff's car was a meaningful interference with
plaintiff's possessory and property rights in his car, while seizing the same

pursuant to a police tow of plaintiffs car pursuant to his arrest.

 

3! and DOES 1 through 6, inclusive.
2 Along with plaintiff's father, Robert Swaine.

COMPLAINT FOR DAMAGES
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96. Moreover, DOES 4 through 6, inclusive, had an adequate opportunity,
as well as the ability, to have intervened and to have stopped defendants TOMSIC,
WELDIN and DOES | through 3, inclusive, from continuing to vandalize
plaintiff's car, and, notwithstanding that knowledge and opportunity, just stood
there and watched DOES 4 through 6, inclusive, vandalize plaintiffs car.

97. Also as set forth above, defendants TOMSIC’s, WELDIN’s and DOES
1 through 3’s vandalizing of plaintiffs car, and DOES 4 through 6, inclusive’s
failure to intervene to stop the same.

98. Although procedures exist under California state law for the warrantless
seizure of evidence, for the keeping and maintenance of evidence seized in the
absence of a warrant, and, in some cases, for the destruction of seized evidence,
defendants ignored and failed to follow any such California state law procedures
regarding the seizure and destruction of property.

99. Moreover, as set forth above, there was no legitimate law enforcement
objective or purpose in defendants TOMSIC’s, WELDIN’s and DOES 1 through
3’s vandalizing of plaintiff's car, and said defendants so vandalized plaintiff's car
to advance the goals and objectives of that / those group(s) / gang(s) of White
Supremacist / Neo-Nazi police officers within the Torrance Police Department, to
wit; to terrorize the public in Torrance, California, that group(s) / gang(s) of White
Supremacist / Neo-Nazi police officers within the Torrance Police Department run
that town and its streets; a form of Neo-Nazi group chest-puffing / bragging, by
officers who are drunk with their own power, and who despise and mistreat
persons often despised and/or mistreated by society (i.e. Jews, blacks members of
the LGBT community, and other non-white types.)

100. Accordingly, said vandalizing of plaintiff's car by defendants TOMSIC
WELDIN and DOES 1 through 3, inclusive, constitutes and unreasonable seizure

COMPLAINT FOR DAMAGES
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of plaintiff's car, in the absence of procedural due process, under the Fourteenth
Amendment to the United States Constitution.

101. Asadirect and proximate result of the actions of defendants TOMSIC,
WELDIN and DOES | through 3, inclusive, plaintiff has suffered: 1) damage to
his car and the attendant costs of repairing the same, including lost wages, and 2)
mental and emotional pain suffering and distress from the shock that Torrance
police officers seemed to have threatened him with violence by painting a Swastika
on his back seat, and otherwise from such “violation” of one’s basic liberty
interests, and from the shock to one when one is traumatically caused to realize
that often, the persons entrusted with one’s personal safety and security (the police
or more dangerous than the persons who they are supposed to be protected from by
the police; all in an amount to be proven at trial in excess of $3,000,000.00.

102. In addition to the above and foregoing, plaintiff shows that the actions
of defendants TOMSIC, WELDIN and DOES | through 3, inclusive, were done
maliciously, oppressively and in reckless disregard of the plaintiff's constitutional
rights; entitling plaintiff to punitive / exemplary damages in an amount to be
proven at trial in excessive of $3,000,000.00.

THIRD CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
Violation of Fourth and Fourteenth Amendment Rights
Unlawful / Unreasonable Search and Seizure of Personal Property

Violation of Substantive Due Process of Law
(Against defendants TOMSIC, WELDIN and DOES 1 through 6, inclusive)

103. Plaintiff hereby realleges and incorporates by reference the allegations
set forth in paragraphs | through 102, inclusive, as though set forth in full herein.

104. As set forth above, on January 27, 2020, pursuant to a call for service

for suspected possible stolen mail, plaintiff and his friend were located in his

COMPLAINT FOR DAMAGES
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automobile near the scene of the subject of the call-for-service, by defendants
Cody Weldin and Christopher Tomsic*®.

105. Plaintiff and his friend were arrested, or otherwise caused to be arrested
by Torrance Police Department police officers, including defendants Cody Weldin
and Christopher Tomsic and DOES 1 through 6, inclusive, for suspected
conspiracy to steal U.S. Mail.

106. Also as set forth above, plaintiff was taken to jail by Torrance Police
Department police officers*’, and booked for those charges shown above, on
January 27, 2020.

107. Plaintiff was thereafter released from on January 28, 2020 from the
Torrance City Jail, on a citation to appear in court on his arrest charges.

108. Also as set forth above, on January 29, 2020, plaintiff*> discovered that
his 2004 Hyundai, Elantra, automobile, had been vandalized by someone spray-
painting a Swastika on the back seat of his car, spray-painting a Happy Face on the
front passenger seat of his car, and by seemingly randomly spray-painting blotches
on the passenger side outside rear view mirror, and on the rear bumper of
plaintiff's Hyundai.

109. On October 2, 2021, plaintiff discovered that TOMSIC, WELDIN and
DOES 1 through 6, inclusive vandalized his car.

110. TOMSIC’s, WELDIN’s and DOES | through 6, inclusive’s,
vandalization of plaintiff's car, described-above, constituted conduct that is
shocking to the conscience, outrageous, and below that standard of conduct

tolerated in a civilized society; such conduct being a violation of the substantive

 

33. and DOES 1 through 6, inclusive.
*4 DOES 5 and 6.
*° Along with plaintiff's father, Robert Swaine.

COMPLAINT FOR DAMAGES
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due process restrictions on police officer conduct under the Fourteenth
Amendment to the United States Constitution.

111. Asadirect and proximate result of the actions of defendants TOMSIC,
WELDIN and DOES | through 3, inclusive, plaintiff has suffered: 1) damage to
his car and the attendant costs of repairing the same, including lost wages, and 2)
mental and emotional pain suffering and distress, from the shock that a Torrance
police officer seemed to have threatened him with painting a Swastika on his back
seat, otherwise from such “violation” of one’s basic liberty interests, and from the
shock to one when one is traumatically caused to realize that often, the persons
entrusted with one’s personal safety and security (the police), are often more
dangerous than the persons who they are supposed to be protected from by the
police; all in an amount to be proven at trial in excess of $3,000,000.00.

112. In addition to the above and foregoing, plaintiff shows that the actions
of defendants TOMSIC, WELDIN and DOES | through 3, inclusive, were done
maliciously, oppressively and in reckless disregard of the plaintiff's constitutional
rights; entitling plaintiff to punitive / exemplary damages in an amount to be
proven at trial in excessive of $3,000,000.00.

FOURTH CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
Violation of Fifth and Fourteenth Amendment Rights
Unlawful Taking of Personal Property Without Just Compensation / Without
Due Process of the Law
(Against defendants TOMSIC, WELDIN and DOES 1 through 6, inclusive)

113. Plaintiff hereby realleges and incorporates by reference the allegations
set forth in paragraphs | through 112, inclusive, as though set forth in full herein.

114. As set forth above, on January 27, 2020, pursuant to a call for service
for suspected possible stolen mail, plaintiff and his friend were located in his

automobile near the scene of the subject of the call-for-service, by defendants

Cody Weldin and Christopher Tomsic.

COMPLAINT FOR DAMAGES
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115. Plaintiff and his friend were arrested, or otherwise caused to be arrested
by Torrance Police Department police officers, including defendants Cody Weldin
and Christopher Tomsic and DOES 1 through 6, inclusive, for suspected
conspiracy to steal U.S. Mail; a crime that plaintiff was innocent of.

116. Also as set forth above, plaintiff was taken to jail by Torrance Police
Department police officers, and booked for those charges shown above, on January
27, 2020.

117. He was thereafter released from on January 28, 2020 from the Torrance
City Jail, on a citation to appear in court on his arrest charges.

118. Also as set forth above, on January 29, 2020, plaintiff*® discovered that
his 2004 Hyundai, Elantra, automobile, had been vandalized by someone spray-
painting a Swastika on the back seat of his car, spray-painting a Happy Face on the
front passenger seat of his car, and by seemingly randomly spray-painting blotches
on the passenger side outside rear view mirror, and on the rear bumper of
plaintiff's Hyundai.

119. Also as set forth above, on October 2, 2021, plaintiff discovered that
TOMSIC, WELDIN and DOES | through 6, inclusive vandalized his car.

120. TOMSIC’s, WELDIN’s and DOES | through 6, inclusive’s,
vandalization of plaintiff's car, described-above, constituted conduct that is a
taking of plaintiff's property without just compensation for the same; such conduct
being a violation of plaintiffs right to be free from an unlawful taking of his
property under the Fifth and Fourteenth Amendments to the United States
Constitution.

121. Asadirect and proximate result of the actions of defendants TOMSIC,
WELDIN and DOES | through 3, inclusive, plaintiff has suffered: 1) damage to

 

%6 Along with plaintiff's father, Robert Swaine.

COMPLAINT FOR DAMAGES
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his car and the attendant costs of repairing the same, including lost wages, and 2)
mental and emotional pain suffering and distress from the shock that a Torrance
police officer seemed to have threatened him with painting a Swastika on his back
seat, otherwise from such “violation” of one’s basic liberty interests, and from the
shock to one when one is traumatically caused to realize that often, the persons
entrusted with one’s personal safety and security (the police), are often more
dangerous to one, than the persons who they are supposed to be protected from by
the police; all in an amount to be proven at trial in excess of $3,000,000.00.

122. In addition to the above and foregoing, plaintiff shows that the actions
of defendants TOMSIC, WELDIN and DOES | through 3, inclusive, were done
maliciously, oppressively and in reckless disregard of the plaintiffs constitutional
rights; entitling plaintiff to punitive / exemplary damages in an amount to be
proven at trial in excessive of $3,000,000.00.

FIFTH CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
MUNICIPAL LIABILITY [MONELL LIABILITY?’ |
Policy / de facto Policy, via Longstanding Customs and Practices of Police
Agency for Creation and Maintenance of Neo-Nazi / White Supremacist
Police Officer Group(s) / Gang(s) Terrorizing Public
(Against defendants CITY and DOES 7 through 10, inclusive)

123. Plaintiff hereby realleges and incorporates by reference the allegations
set forth in paragraphs | through 122, inclusive, as though set forth in full herein.

124. As set forth above, on January 27, 2020, pursuant to a call for service
for suspected possible stolen mail, plaintiff and his friend were located in his

automobile near the scene of the subject of the call-for-service, by defendants

Cody Weldin and Christopher Tomsic”®.

 

37 Monell v. Department of Social Services, 436 U.S. 658 (1978).
38. and DOES 1 through 6, inclusive.

COMPLAINT FOR DAMAGES
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125. Plaintiff and his friend were arrested, or otherwise caused to be arrested
by Torrance Police Department police officers, including defendants Cody Weldin
and Christopher Tomsic and DOES 1 through 6, inclusive, for suspected
conspiracy to steal U.S. Mail.

126. Also as set forth above, plaintiff was taken to jail by Torrance Police
Department police officers*’, and booked for those charges shown above, on
January 27, 2020. Plaintiff is innocent of, and was never prosecuted for those
crimes.

127. He was thereafter released from on January 28, 2020 from the Torrance
City Jail, on a citation to appear in court on his arrest charges.

128. Also as set forth above, on January 29, 2020, plaintiff"? discovered that
his 2004 Hyundai, Elantra, automobile, had been vandalized by someone spray-
painting a Swastika on the back seat of his car, spray-painting a Happy Face on the
front passenger seat of his car, and by seemingly randomly spray-painting blotches
on the passenger side outside rear view mirror, and on the rear bumper of
plaintiff's Hyundai.

129. Also as set forth above, on October 2, 2021, plaintiff discovered that
TOMSIC, WELDIN and DOES 1 through 6, inclusive vandalized his car.

130. As shown above, defendants DOES 7 through 10, inclusive, are
Supervisory personnel and/or policy making and/or final policy making officials
for the Torrance Police Department / City of Torrance, employed by Torrance
Police Department and defendant CITY (and/or some other Municipal entity), and
were Certified California Peace Officers, Sworn Peace Officers of policy making

ranks and authority, such as the Chief of Police and/or Assistant Chief(s) and/or

 

39 DOES 5 and 6.
“° Along with plaintiff's father, Robert Swaine.

COMPLAINT FOR DAMAGES
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Commanders and/or Captains and/or Lieutenants and/or Sergeants and/or other
Supervisory personnel and/or policy making and/or final policy making officials,
employed by Torrance Police Department and defendant CITY (and/or some other
Municipal entity), who are in some substantial way liable and responsible for, or
otherwise proximately caused and/or contributed to the occurrences complained of
by plaintiff in this action, such as via major policy making decisions on personnel
matters, including:
1) The longstanding knowing tolerance of and condoning by CITY and
DOES 7 through 10, inclusive"', of murders and other forms of homicide by
Torrance Police Department police officers of innocents’? (some being
racially motivated, and some not), as well as the knowing widespread
tolerance of and condoning of frequent police beatings and false arrests of
innocents by Torrance Police Department police officers, and of other
California state criminal, and federal and state constitutional violations”,
including defendants Christopher Tomsic and Scott Weldin and DOES 1
through 6, inclusive;
2) The longstanding custom and practice of CITY and DOES 7 through
10, inclusive’, by ignoring frequent complaints made by civilians

against violating Torrance police officers, including the murders, beatings

 

“' Such as by failing to investigate, or even by failing to take a complaint report, or to even
discourage civilians from making any such personnel complaints; especially those complaints by
non-white civilians that they were subjected to demeaning traffic stops by Torrance Police
Department police officers, for conduct such as driving an expensive car in a predominantly
white / upscale neighborhood.
"2 Including criminal federal constitutional violations under 18 U.S.C. § 242.
*? Some of these Torrance Police Department beatings of innocents, misdemeanants, the
homeless, and the defenseless, not being racially motivated, and some being racially motivated,
and, also, to advance the goals of, and for the benefit of the / a White Supremacist / Neo-Nazi
group(s) / gang(s) of Torrance Police Department police officers.
“* Such as by failing to investigate, or even by failing to take a complaint, report, or to even
discourage civilians from making any such personnel complaints.

COMPLAINT FOR DAMAGES

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and false arrests referenced immediately above, including and especially
racially motivated traffic and pedestrian stops of innocents non-white
persons, and by either failing to investigate them at all, or, by investigating
said complaints in a manner seeking only to reach a pre-determined
conclusion, that the civilian complaints were without merit, and that the
Torrance Police Department police officer was “in the right”, and the
complaining civilian was “in the wrong”;
3) The longstanding custom and practice of CITY and DOES 7 through
10, inclusive’, of knowingly tolerating Neo-Nazi / White Supremacist
gangs / groups of Torrance Police Department police officers, who
individually and in concert, and as a group / gang actually discuss with each
other, on-duty, how much they despise and hate Jews, black persons of
African descent, members of the LGBT community and assorted other
identifiable groups of persons who are often typically scapegoated for
society’s problems, and who often are the targets of hate, ridicule and
oppressive police behavior, and who are otherwise looked-down-upon by
members of the law enforcement community, patroling the streets of
Torrance;
131. These de facto policies of the Torrance Police Department exist
because notwithstanding complaints to said defendants about, and notwithstanding
actual knowledge of these White Supremacist / Neo-Nazi group(s) / gang(s)

existence and their acts of terror and oppressive conduct against blacks, LGBT

 

*° From 2016 to 2019, Torrance police upheld just three citizen allegations of police misconduct
and zero allegations of racial profiling made against officers, according to data submitted to the
California attorney general’s office. Katz, the former independent police auditor, described those
statistics as “concerningly low.”

*© Such as by failing to investigate, or even by failing to take a complaint report, or to even
discourage civilians from making any such personnel complaints.

COMPLAINT FOR DAMAGES
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members and others, defendants DOES 7 through 10, inclusive, failed to discipline
and stop these White Supremacist / Neo-Nazi group(s) / gang(s), by disciplining
and/or firing them from their employment with the Torrance Police Department.

132. Defendants TOMSIC’s, WELDIN’s and DOES | through 6’s
vandalizing of plaintiff's car, was in large part done to advance the goals and
objectives of that / those group(s) / gang(s) of White Supremacist / Neo-Nazi
police officers within the Torrance Police Department, to wit; to terrorize the
public in Torrance, California, that group(s) / gang(s) of White Supremacist / Neo-
Nazi police officers within the Torrance Police Department run that town and its
streets; a form of Neo-Nazi group chest-puffing and bragging, by officers who are
drunk with their own power, and who despise and mistreat those types / groups of
persons who are often mistreated by society (i.e. Jews, blacks, members of the
LGBT community, and other non-white types.)

133. Accordingly, said vandalizing of plaintiff's car by defendants
TOMSIC, WELDIN and DOES | through 6, inclusive, was proximately caused by
said policies / de facto policies of the Torrance Police Department, above-
described, making CITY and DOES 7 through 10, inclusive, liable for all of the
plaintiff's claims, via 42 U.S.C. § 1983 in his First, Second, Third and Fourth
Causes of Action shown above.

134. Accordingly, as a direct and proximate result of the actions of
defendants CITY and DOES 7 through 10, inclusive, plaintiff has suffered: 1)
damage to his car and the attendant costs of repairing the same, including lost
wages, and 2) mental and emotional pain suffering and distress, from the shock
that a Torrance police officer seemed to have threatened him with painting a
Swastika on his back seat, otherwise from such “violation” of one’s basic liberty
interests, and from the shock to one when one is traumatically caused to realize

that often, the persons entrusted with one’s personal safety and security (the police

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are more dangerous to one than the persons who they are supposed to be protected

from by the police; all in an amount to be proven at trial in excess of $3,000,000.00.

135. In addition to the above and foregoing, plaintiff shows that the actions
of defendants DOES 7 through 10, inclusive, were done maliciously, oppressively
and in reckless disregard of the plaintiff's constitutional rights; entitling plaintiff to
punitive / exemplary damages against said defendants, save defendant CITY, in an
amount to be proven at trial in excessive of $3,000,000.00.

WHEREFORE, plaintiff prays for judgment as follows:

a) For a judgment against all defendants for compensatory damages
in an amount in excess of $3,000,000.00;

b) For a judgment against all defendants, save defendant CITY, for
punitive damages in an amount in excess of $3,000,000.00;

c) For an award of reasonable attorney’s fees and costs;

d) For a trial by jury; and

e) For such other and further relief as this honorable court deems just

and equitable. / 1
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JERRY L. STEERING, ATTORNEY FOR
PLAINTIFF KILEY SWAINE

COMPLAINT FOR DAMAGES
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